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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

VINCENT TUZZOLINO,

           Plaintiff,

v.                                      Case No.: 8:15-cv-00455-JSM-MAP

RETRIEVAL MASTERS
CREDITORS BUREAU, INC.,

           Defendant.
                               /


                             MEDIATION REPORT

      In accordance with the Court’s mediation order, a mediation
conference was held on February 11, 2016.     Plaintiff and his trial
counsel, and Defendant’s trial counsel attended and participated.
Each representative was available by phone as permitted by the Court.
      The case has been completely settled.
      Done February 11, 2016 in Tampa, Florida.
                                   Respectfully submitted,


                                   /s/ Peter J. Grilli
                                   Peter J. Grilli, Esq.
                                   Florida Bar No. 237851
                                   Mediator
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     I HEREBY CERTIFY that February 11, 2016 I electronically filed
the foregoing document with the United States District Court Electronic
Case Filing system, which will electronically send copies to counsel of
record.


                                        /s/ Peter J. Grilli
                                        Peter J. Grilli, Esq.
